               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 JULANE HERMAN,

                      Plaintiff,
                                                      Case No. 21-CV-442-JPS
 v.

 NATIONAL REGENCY OF NEW
 BERLIN INC and PROHEALTH                                           ORDER
 CARE INC,

                      Defendants.


       On April 6, 2021, Plaintiff filed a complaint alleging violations of the

Fair Labor Standards Act, 29 U.S.C. § 201 et seq., and Wisconsin state law.

(Docket #1). On October 29, 2021, the parties filed a stipulation of dismissal

of this action with prejudice and without costs. (Docket #14). The Court will

adopt that stipulation. See Fed. R. Civ. P. 41(a)(1)(A)(ii).

       Accordingly,

       IT IS ORDERED that the stipulation of dismissal (Docket #14) be

and the same is hereby ADOPTED; and

       IT IS FURTHER ORDERED that this action be and the same is

hereby DISMISSED with prejudice.

       Dated at Milwaukee, Wisconsin, this 1st day of November, 2021.

                                    BY THE COURT:




                                    J.P. Stadtmueller
                                    U.S. District Judge




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